Case 2:18-cv-10166-MCA-LDW Document 15 Filed 05/08/20 Page 1 of 3 PageID: 100




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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

 JOHN MELDON, Derivatively and on
 Behalf of FRESHPET, INC.,                CIVIL ACTION NO.: 18-CV-10166

                   Plaintiff,             MOTION DATE: JUNE 1, 2020

       vs.

 RICHARD THOMPSON, RICHARD
 KASSAR, SCOTT MORRIS,
 CATHAL WALSH, THOMAS
 FARINA, MACCHIAVERNA,
 MICHAEL HIEGER, CHARLES A.
 NORRIS, CHRISTOPHER B.
 HARNED, DARYL G. BREWSTER,
 ROBERT C. KING, JONATHAN S.
 MARLOW, J. DAVID BASTO,
 LAWRENCE S. COBEN, PH.D.,
 WALTER N. GEORGE III, and
 CRAIG D. STEENECK,

                   Defendants,

       and

 FRESHPET, INC.,

                   Nominal Defendant.
Case 2:18-cv-10166-MCA-LDW Document 15 Filed 05/08/20 Page 2 of 3 PageID: 101




             PLAINTIFF’S MOTION FOR PRELIMINARY
        APPROVAL OF PROPOSED SETTLEMENT AGREEMENT

      PLEASE TAKE NOTICE that on June 1, 2020 Plaintiff John Meldon

(“Plaintiff”), derivatively on behalf of Freshpet, Inc., will move before the

Honorable Madeline Cox Arleo, United States District Judge for the United States

District Court for the District of New Jersey, Courtroom 4A of the Martin Luther

King Building & U.S. Courthouse, 50 Walnut Street, Newark, NJ 07101, for entry

of an Order pursuant to Federal Rule of Civil Procedure 23.1(c) for preliminary

approval of the proposed settlement agreement (the “Settlement”). In support of this

motion, Plaintiff has filed the accompanying Memorandum in Support of Motion for

Preliminary Approval of Proposed Settlement Agreement and Declaration of

Jennifer Sarnelli with exhibits thereto.

Dated: May 8, 2020                             Respectfully submitted,

                                               s/Jennifer Sarnelli
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                                           2
Case 2:18-cv-10166-MCA-LDW Document 15 Filed 05/08/20 Page 3 of 3 PageID: 102




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